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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION



REV. RYAN SASHA GALLAGHER,
               Plaintiff,                             CIVIL ACTION FILE

vs.                                                   NO. 1: 18-cv-04600-CAP

CNN, et al.
                    Defendant.


                                   JUDGMENT

      This action having come before the court, Honorable Charles A. Pannell, Jr., Senior

United States District Judge, for a frivolity determination pursuant to 28 U.S.C.

§1915(e)(2)(B), and the court having made such determination, it is

      Ordered and Adjudged that the action be DISMISSED as frivolous.

      Dated at Atlanta, Georgia, this 11th day of October, 2018.



                                                      JAMES N. HATTEN
                                                      CLERK OF COURT


                                                By:    s/Traci Clements Campbell
                                                            Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
October 11, 2018
James N. Hatten
Clerk of Court

By: s/Traci Clements Campbell
         Deputy Clerk
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